
704 N.W.2d 23 (2005)
2005 ND 157
In the Matter of the Application for DISCIPLINARY ACTION AGAINST William P. VELA, a Person Admitted to the Bar of the State of North Dakota.
Disciplinary Board of the Supreme Court of the State of North Dakota, Petitioner
v.
William P. Vela, Respondent.
No. 20050173.
Supreme Court of North Dakota.
September 23, 2005.

SUSPENSION ORDERED
[¶ 1] On June 24, 2005, the Supreme Court entered an order accepting the Findings of Fact, Conclusions of Law and Recommendations of the Hearing Panel, and suspending William P. Vela from the practice of law for one year effective when, and if, he pays his 2005 license fee or applies for relicensure after January 1, 2006. See, Disciplinary Board v. Vela, 2005 ND 119, 699 N.W.2d 839.
[¶ 2] The Supreme Court's June 24, 2005, Order further required Vela to pay restitution, pay the costs of the disciplinary proceeding, and to comply with N.D.R. Lawyer Discipl. 6.3. To date, Vela has not provided proof of payment of restitution, and has not paid costs. Further, Vela must comply with N.D.R. Lawyer Discipl. 6.3.
[¶ 3] On September 23, 2005, Vela paid his license fee for 2005. Accordingly, Vela's one-year suspension will commence as of September 23, 2005.
[¶ 4] This Order is entered September 23, 2005, at the direction of the Honorable Gerald W. VandeWalle, Chief Justice.
[¶ 5] Penny Miller, Clerk
North Dakota Supreme Court
